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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION

  ROTHSCHILD CONNECTED DEVICES §
  INNOVATIONS, LLC                    §
                                      §
        Plaintiff,                    §                Case No: 2:15-cv-01877-JRG-RSP
                                      §
  vs.                                 §                LEAD CASE
  .                                   §
  AMERICAN HONDA MOTOR CO.,           §
  INC.                                §
                                      §
        Defendant.                    §
  ___________________________________ §

                                              ORDER

         On this day the Court considered the Unopposed Motion to Dismiss Defendant American
  Honda Motor Co., Inc. It is therefore ORDERED that all claims by and between parties are
  hereby DISMISSED WITH PREJUDICE, with each party to bear its own costs, expenses and
  attorneys’ fees. It is further ORDERED that the court will retain jurisdiction to enforce the terms

           SIGNEDAgreement
  of the Settlement this 3rd day of January,
                              between         2012.
                                       the parties.
          SIGNED this 27th day of May, 2016.




                                                       ____________________________________
                                                       ROY S. PAYNE
                                                       UNITED STATES MAGISTRATE JUDGE
